     Case 3:20-cv-00031-MMD-CLB         Document 94       Filed 05/12/25     Page 1 of 1




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3                                UNITED STATES DISTRICT COURT

4                                       DISTRICT OF NEVADA
5
                                                   ***
6       ERIC LAMONT DALE,                                 Case No. 3:20-cv-00031-MMD-CLB

7                                        Petitioner,                     ORDER
8             v.
9
        BRIAN WILLIAMS, et al.,
10
                                     Respondents.
11

12           Petitioner Eric Lamont Dale seeks an extension of time to file a reply to the answer
13     to his second amended 28 U.S.C. § 2254 petition for a writ of habeas corpus. (ECF No.
14     93.) The Court finds the request is made in good faith and not for the purposes of delay,
15     and therefore, good cause exists to grant the extension.
16           It is therefore ordered that Petitioner’s motion for extension of time to file a reply to
17     the answer to the petition (ECF No. 93) is granted nunc pro tunc. The deadline is extended
18     to May 12, 2025.
19           DATED THIS 12th Day of May 2025.
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21                                                MIRANDA M. DU
                                                  UNITED STATES DISTRICT JUDGE
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